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Debtor name Munchery, Inc.

UNITED STATES BANKRUPTCY COURT NORTHERN DISTRICT OF CALIFORNIA
Case No. (If known)


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders                                                                                                                                   12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person who is an insider , as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.

Name of creditor and complete                                                     Nature of the       Indicate if      Amount of unsecured claim
                                           Name, telephone number, and                                claim is
mailing address, including zip             email address of creditor contact      claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                             (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                  trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                  loans,                               deduction for value of collateral or setoff to
                                                                                  professional                         calculate unsecured claim.
                                                                                  services, and
                                                                                  government
                                                                                                                      Total Claim, if   Deduction        Unsecured claim
                                                                                  contracts)
                                                                                                                      partially         for value of
                                                                                                                      secured           collateral or
                                                                                                                                        setoff


1   City and County of San Francisco       City and County of San Francisco       Settlement                                                                      $286,358.60
    c/o OLSE                                                                      Agreement
    Attn: Bianca Polovina
    City Hall, Rm 453
    1 Dr. Carlton B. Goodlett Place
    San Francisco, CA 94102

2   State Fund Compensation Insurance      State Fund Compensation Insurance      Insurance                                                                       $207,423.10
    P.O. Box 7441
    San Francisco, CA 94120-7441




3   Nextdoor.com, Inc.                     Nextdoor.com, Inc.                     Trade Debt                                                                      $154,256.70
    P.O. Box 398963                        Tel: 4153440333
    San Francisco, CA 94139-8963           Email: wilson@nextdoor.com;
                                           ar@nextdoor.com




4   Google                                 Google                                 Trade Debt                                                                      $148,153.13
    Dept 33654                             Email: collections-google@google.com
    P.O. Box 39000
    San Francisco, CA 94139




5   Rocker Bros Meat                       Rocker Bros Meat                       Trade Debt          Contingent,                                                 $136,713.77
    405 No. Centinela Ave                  Tel: (310) 672-0139                                        Unliquidated
                                                                                                      & Disputed
    Inglewood, CA 90302                    Email: sgolper@rockerbrosmeat.com




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Debtor name Munchery, Inc.                                                                            Case No. (If known)

                                                                    (Continuation Sheet)

Name of creditor and complete                                                  Nature of the       Indicate if      Amount of unsecured claim
                                           Name, telephone number, and                             claim is
mailing address, including zip             email address of creditor contact   claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                          (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                               trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                               loans,                               deduction for value of collateral or setoff to
                                                                               professional                         calculate unsecured claim.
                                                                               services, and
                                                                               government
                                                                                                                   Total Claim, if   Deduction        Unsecured claim
                                                                               contracts)
                                                                                                                   partially         for value of
                                                                                                                   secured           collateral or
                                                                                                                                     setoff


6   Del Monte Meat                         Del Monte Meat                      Trade Debt                                                                      $119,656.50
    P.O. Box 101831                        Email: karend@delmontemeat.com
    Pasadena, CA 91189-1831




7   DLA Piper LLP                          DLA Piper LLP                       Legal                                                                           $113,530.50
    P.O. Box 75190
    Baltimore, MD 21275




8   Costarella Seafoods, Inc.              Costarella Seafoods, Inc.           Trade Debt          Contingent,                                                  $92,702.41
    Pier 45 Shed B, 8                      Tel: 4156740175                                         Unliquidated
                                                                                                   & Disputed
    P.O. Box 192484                        Email: ac@costarellaseafoods.com
    San Francisco, CA 94119-2484



9   Performance Foods                      Performance Foods                   Trade Debt          Contingent,                                                  $80,783.39
    P.O. Box 1801                          Email: cristin.garden@ledyard.com                       Unliquidated
                                                                                                   & Disputed
    Santa Cruz, CA 95061-1801




10 Crossover Markets, Inc.                 Crossover Markets, Inc.             Trade Debt                                                                       $70,632.65
   401 Congress Ave, Ste 2650              Tel: 718-406-5730
   Austin, TX 78701                        Email: finance@crossover.com




11 Woodruff-Sawyer & Co.                   Woodruff-Sawyer & Co.               Insurance                                                                        $67,180.00
   P.O Box 45057                           Email: accounting-
   San Francisco, CA 94145-9950            premiumreceivables@wsandco.com




12 Modesto Food Distributors - Shaw        Modesto Food Distributors - Shaw    Trade Debt                                                                       $61,505.51
   7601 El Camino Real                     Tel: 650-756-8924
   Colma, CA 94014-3107                    Email: chicken@modestoorders.com;
                                           marlene.modesto@pacbell.net




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Debtor name Munchery, Inc.                                                                                  Case No. (If known)

                                                                      (Continuation Sheet)

Name of creditor and complete                                                        Nature of the       Indicate if      Amount of unsecured claim
                                          Name, telephone number, and                                    claim is
mailing address, including zip            email address of creditor contact          claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                                (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                     trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                     loans,                               deduction for value of collateral or setoff to
                                                                                     professional                         calculate unsecured claim.
                                                                                     services, and
                                                                                     government
                                                                                                                         Total Claim, if   Deduction        Unsecured claim
                                                                                     contracts)
                                                                                                                         partially         for value of
                                                                                                                         secured           collateral or
                                                                                                                                           setoff


13 I. Halper                              I. Halper                                  Trade Debt                                                                       $56,304.72
   51 Hook Rd                             Email: jennifer@ihalper8.onmicrosoft.com
   Bayonne, NJ 07002




14 The Produce Company                    The Produce Company                        Trade Debt                                                                       $52,246.80
   60 Airport Blvd                        Tel: 650-871-2505
   South San Francisco, CA 94080          Email:
                                          accounting@oneproducecompany.com



15 San Mateo County                       San Mateo County                           Taxes               Contingent,                                                  $50,000.00
   555 County Center                      Email: VAusten@smcacre.org                                     Unliquidated
                                                                                                         & Disputed
   Redwood City, CA 94063




16 Fenwick & West                         Fenwick & West                             Legal                                                                            $46,162.22
   Silicon Valley Center                  Tel: (650) 988-8500
   801 California St                      Email: accountsreceivable@fenwick.com
   Mountain View, CA 94041



17 Oakville Produce Partners, LLC         Oakville Produce Partners, LLC             Litigation          Contingent,                                                  $45,787.27
   c/o Leader-Picone & Yong                                                                              Unliquidated
                                                                                                         & Disputed
   Attn: Malcolm Leader-Picone, Kaipo
   K.B. Young
   1970 Broadway, Ste 1030
   Oakland, CA 94612



18 Littler Mendelson, PC                  Littler Mendelson, PC                      Legal                                                                            $43,797.89
   P.O. Box 207137                        Tel: 800-264-1031
   Dallas, TX 75320-7137                  Email: billingsupport@littler.com;
                                          clientpayments@littler.com




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Debtor name Munchery, Inc.                                                                            Case No. (If known)

                                                                  (Continuation Sheet)

Name of creditor and complete                                                  Nature of the       Indicate if      Amount of unsecured claim
                                           Name, telephone number, and                             claim is
mailing address, including zip             email address of creditor contact   claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                          (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                               trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                               loans,                               deduction for value of collateral or setoff to
                                                                               professional                         calculate unsecured claim.
                                                                               services, and
                                                                               government
                                                                                                                   Total Claim, if   Deduction        Unsecured claim
                                                                               contracts)
                                                                                                                   partially         for value of
                                                                                                                   secured           collateral or
                                                                                                                                     setoff


19 Kael Foods                              Kael Foods                          Trade Debt                                                                       $42,928.22
   1636 Gilbreth Rd                        Tel: 6504432360
   Burlingame, CA 94010




20 UNFI - CA                               UNFI - CA                           Trade Debt                                                                       $40,139.00
   P.O. Box 742930                         Tel: 1-800-679-8735
   Los Angeles, CA 90074-2930              Email: payments_unfiw@unfi.com




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